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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                               ORIGINAL
 UNITED STATES OF AMERICA                             INDICTMENT

                        V.                            Sl 23 Cr. 118 (AT)

 HO WAN KWOK,
   a/k/a "Miles Guo,"
   a/k/a "Miles Kwok,"
   a/k/a "Guo Wengui,"
   a/k/a "Brother Seven,"
   a/k/a "The Principal,"

 KINMINGJE,
   a/k/a "William Je," and

 YANPING WANG,
   a/k/a "Yvette,"

                             Defendants.


                                      COUNT ONE
            (Conspiracy to Commit Wire Fraud, Securities Fraud, Bank Fraud, and
                                   Money Laundering)

       The Grand Jury charges:

                                           Overview

       1.       From at least in or about 2018 through at least in or about March 2023 , HO WAN

KWOK, a/k/a "Miles Guo," a/k/a "Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother Seven,"

a/k/a "The Principal," KIN MING JE, a/k/a "William Je," and YANPING WANG, a/k/a "Yvette,"

the defendants, and others known and unknown, conspired to defraud thousands of victims of more

than approximately $1 billion, including victims located in the Southern District of New York.

KWOK, JE, WANG, and their co-conspirators operated through a series of complex fraudulent

and fictitious businesses and investment opportunities that connected dozens of interrelated
entities, which allowed the defendants and their co-conspirators to solicit, launder, and

misappropriate victim funds.

         2.    HO WAN KWOK, a/k/a "Miles Guo," a/k/a "Miles Kwok," a/k/a "Guo Wengui,"

a/k/a "Brother Seven," a/k/a "The Principal," KIN MING JE, a/k/a " William Je," and YANPING

WANG, a/k/a " Yvette," the defendants, and their co-conspirators, took advantage of KWOK' s

prolific online presence and hundreds of thousands of online followers to solicit investments in

various entities and programs by promising outsized financial returns and other benefits. The

entities and programs used in the scheme included those known as GTV, GICLUBS, GIMUSIC,

GIFashion, and the Himalaya Exchange, among others. In truth and in fact, and as KWOK, JE,

and WANG well knew, the entities were instrumentalities that KWOK, JE, and WANG created

and used to perpetrate their fraud and exploit KWOK' s followers. The scheme allowed KWOK,

JE, and WANG to enrich themselves, their family members, and their co-conspirators, and to fund

KWOK' s extravagant lifestyle.

         3.    As part of the scheme, HO WAN KWOK, a/k/a "Miles Guo," a/k/a "Miles Kwok,"

a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The Principal," KIN MING JE, a/k/a "William

Je," and YANPING WANG, a/k/a "Yvette," the defendants, and their co-conspirators, laundered

hundreds of millions of dollars of fraud proceeds. To conceal the illegal source of the funds,

KWOK, JE, and WANG transferred, and directed the transfer of, money into and through more

than approximately 500 accounts held in the names of at least 80 different entities or individuals.

Hundreds of millions of dollars of the fraudulent scheme' s proceeds were transferred, either

directly or indirectly, to bank accounts in the United States, Bahamas, and United Arab Emirates

("UAE"), among other places, and held in the name of companies owned or otherwise controlled

by JE.



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            4.     HO WAN KWOK, a/k/a "Miles Guo," a/k/a "Miles Kwok," a/k/a "Guo Wengui,"

     a/k/a "Brother Seven," a/k/a "The Principal," and KIN MING JE, a/k/a "William Je," the

     defendants, used more than approximately $300 million of the fraudulent scheme's proceeds for

     their and their families ' benefit. For example, KWOK used fraudulently-obtained victim money

     to purchase, fund, or finance a $26.5 million purchase of an approximately 50,000-square-foot

     mansion in New Jersey for KWOK and his family; luxury vehicles, including an approximately

     $3.5 million Ferrari for one ofKWOK' s close family members ("Relative-I"); an approximately

     $37 million luxury yacht that was used by KWOK and his family and purchased in the name of

     one ofKWOK' s close family members ("Relative-2"); a piano valued at approximately $140,000;

     an approximately $36,000 mattress; and a $100 million investment in a high-risk hedge fund for

     the ultimate benefit of Relative-I , among other things. For his part, among other things, JE

     transferred at least $10 million of the fraud proceeds into his and his spouse' s personal bank

     accounts.

            5.     HO WAN KWOK, a/k/a "Miles Guo," a/k/a "Miles Kwok," a/k/a "Guo Wengui,"

     a/k/a "Brother Seven," a/k/a "The Principal," KIN MING JE, a/k/a "William Je," and YANPING

     WANG, a/k/a "Yvette," the defendants, and their co-conspirators, operated the scheme for years,

     and continued to do so at least through at least March 2023. They did so, among other things, by

     continually adapting the scheme' s means and methods to evade the enforcement of investor-

     protection, anti-money laundering, and bankruptcy laws in the United States, and by retaliating

     against individual victims who complained or demanded the return of invested funds.




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                                Relevant Persons and Entities

       6.      At all relevant times, HO WAN KWOK, a/k/a "Miles Guo," a/k/a "Miles Kwok,"

a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The Principal," the defendant, was the leader

of, and directed, the scheme.

                   a. KWOK is an exiled Chinese businessman who fled to the United States in

or about 2015 and purchased a penthouse apartment at a New York City hotel for approximately

$67.5 million. Starting at least in or about 2017, KWOK, who then purported to be a billionaire,

garnered a substantial online following. KWOK granted numerous media interviews and posted

on social media, claiming to advance a movement against the Chinese Communist Party.

                   b. In or about 2018, KWOK founded two purported nonprofit organizations,

namely, the Rule of Law Foundation and the Rule of Law Society. The Rule of Law Society's

website lists KWOK as its "founder, a promot[e]r, and a spokesperson." Both organizations

feature photographs of KWOK on their websites. KWOK used the nonprofit organizations to

amass followers who were aligned with his purported campaign against the Chinese Communist

Party and who were also inclined to believe KWOK's statements regarding investment and money-

making opportunities. In truth and in fact, and as KWOK well knew, he and others provided false

and materially misleading information to promote these "opportunities" and to defraud KWOK's

followers and other victims.

       7.      At all relevant times, KIN MING JE, a/k/a "William Je," the defendant, was a dual

citizen of Hong Kong and the United Kingdom who principally resided in the United Kingdom,

while traveling to the United States and elsewhere. JE owned and operated numerous companies

and investment vehicles central to the scheme and served as its financial architect and key money

launderer.



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       8.      At all relevant times, YANPING WANG, a/k/a "Yvette," the defendant, was a

citizen of China who principally resided in New York, New York and has had a close relationship

with HO WAN KWOK, a/k/a "Miles Guo," a/k/a "Miles Kwok," a/k/a "Guo Wengui," a/k/a

"Brother Seven," a/k/a "The Principal," the defendant. In particular, WANG has worked for

KWOK and KWOK' s family for several years, since at least in or about 2018, and has operated as

a "chief of staff' for KWOK. In that capacity, WANG has held titles in a variety of entities that

were instrumentalities of the fraud described herein. For example, WANG has served as the

President, Treasurer, and Secretary of entities that purportedly managed KWOK' s money.

       9.      At certain times relevant to this Indictment, Saraca Media Group, Inc. ("Saraca")

was a corporation based in New York, New York. Relative-I was its ultimate beneficial owner.

       10.     At certain times relevant to this Indictment, GTV Media Group, Inc. ("GTV") was

a purported news-focused social media platform based in New York, New York. GTV was

functionally owned and controlled by HO WAN KWOK, a/k/a "Miles Guo," a/k/a "Miles Kwok,"

a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The Principal," the defendant, although

KWOK held no formal position or title at GTV. KIN MING JE, a/k/a "William Je," the defendant,

likewise held no formal position or title at GTV, but in fact exercised control over its finances.

Saraca was the parent company of GTV. YANPING WANG, a/k/a "Yvette," the defendant, was

an "Executive Director" of GTV.

       11.     At certain times relevant to this Indictment, G Club Operations, LLC ("GICLUBS")

_was a purported membership organization based in Puerto Rico and in New York, New York.

GICLUBS was functionally owned and controlled by HO WAN KWOK, a/k/a "Miles Guo," a/k/a

"Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The Principal," the defendant,

although KWOK held no formal position or title at GICLUBS. KIN MING JE, a/k/a "William Je,"



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the defendant, likewise held no formal position or title at GICLUBS, but in fact exercised control

over its finances. .

        12.    At certain times relevant to this Indictment, the "Himalaya Exchange" was a

purported cryptocurrency "ecosystem" that KIN MING JE, a/k/a "William Je," the defendant,

founded and operated through various entities he owned, which were based abroad. Entities

functionally owned and controlled by HO WAN KWOK, a/k/a "Miles Guo," a/k/a "Miles Kwok,"

a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The Principal," the defendant, such as

GICLUBS and GIFashion, had purported business relationships with the Himalaya Exchange.

KWOK promoted the Himalaya Exchange and claimed to be the designer of its purported

cryptocurrency, although KWOK held no formal position or title at the Himalaya Exchange.

                                           The Fraud

                                   The GTV Private Placement

        13.    Between in or about April 2020 and in or about June 2020, HO WAN KWOK, a/k/a

"Miles Guo," a/k/a "Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The

Principal," KIN MING JE, a/k/a "William Je," and YANPING WANG, a/k/a "Yvette," the

defendants, and others known and unknown, fraudulently obtained more than $400 million in

victim funds through an illegal private stock offering related to GTV (the "GTV Private

Placement").

                   a. On or about April 21, 2020, KWOK posted, and caused to be posted, a video

on social media announcing the unregistered offering of GTV common stock via a private

placement. In that video, KWOK described, in substance and in part, the investment terms for the

GTV Private Placement, and directed people to contact him, via a mobile messaging application,

with any questions about the GTV Private Placement. The video and GTV Private Placement



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materials-including the written "Confidential Information Memorandum" (the "PPM"),

Subscription Agreement, and Investment Procedure Guidelines-were transmitted to thousands of

potential investors, including those in the Southern District of New York, via mobile messaging

applications, social media, and text messages.

                   b. The PPM promoted GTV as the "first ever platform which will combine the

power of citizen journalism and social news with state-of-the-'art technology, big data, artificial

intelligence, block-chain technology and real-time interactive communication."

                   c. According to the PPM' s metadata, JE was the "author" of the PPM. The

PPM disclosed the terms of the GTV Private Placement and identified KWOK as GTV ' s "Sponsor

and Adviser." According to the PPM, among other GTV materials, neither KWOK nor JE held

any formal management position with GTV. YANPING WANG, a/k/a "Yvette," the defendant,

was identified in the PPM as an "Executive Director" of GTV.

                   d. The PPM also contained the following representations, in substance and in

part, among others:

                           1.   The GTV Private Placement was for investors who were "interested

in evaluating an opportunity to invest capital into GTV;"

                          ii. GTV planned to use the proceeds raised from the GTV Private

Placement "to expand and strengthen the business;" and

                         111.   The PPM included a chart itemizing the "contemplated use of

proceeds" raised from the GTV Private Placement:




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               Acquisition of companies to strengthen and grow
               GTV

               Upgrade of GTV technology and security             Approximate 10%

               Marketing                                           Approximate 8%

               Working capital                                     Approximate 7%

               Other                                               Approximate 5%

               Total                                                    100%



                   e. Between on or about April 20, 2020 and on or about June 2, 2020,

approximately $452 million worth ofGTV common stock was purportedly sold to more than 5,500

investors located in the United States, including in the Southern District of New York, and abroad.

Investors participated in the GTV Private Placement based, in part, on the belief that their money

would be invested into GTV to develop and grow that business, as the PPM promised.

                   f.   The vast majority of the proceeds derived from investors in the GTV Private

Placement were not used to develop and grow the GTV business, but instead were deposited

directly into bank accounts held in the name of Saraca, GTV's parent company, which is

beneficially owned by Relative- I.

                   g. The GTV Private Placement was not made pursuant to a registration

statement filed with the U.S. Securities and Exchange Commission ("SEC"). Rather, the offering

was purportedly made pursuant to SEC regulations that permit the sale of unregistered securities

subject to limitations on the type of investors to whom the securities are offered and the manner in

which their investments may be solicited. To evade these limitations, however, KWOK, and others




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under his control, used at least one intermediary entity to purchase GTV stock on behalf of pools

of investors who did not qualify to participate in the GTV Private Placement.

                   h. In or about early June 2020, and only days after the GTV Private Placement

closed, HO WAN KWOK, a/k/a "Miles Guo," a/k/a "Miles Kwok," a/k/a "Guo Wengui," a/k/a

"Brother Seven," a/k/a "The Principal," KIN MING JE, a/k/a "William Je," and YANPING

WANG, a/k/a "Yvette," the defendants, and their co-conspirators, misappropriated approximately

$100 million raised from investors in the GTV Private Placement and directed that those funds be

placed with a high-risk hedge fund ("Fund-I ") for the benefit of Saraca and its ultimate beneficial

owner, Relative-I. This transaction was contrary to the PPM' s representations to prospective GTV

investors about how investments in GTV would be used. Indeed, the $100 million investment into

Fund-I was not made for the benefit of GTV, but rather for the benefit of Saraca. The victims

who supplied the $100 million invested into Fund- I did not own any shares of Saraca. Ultimately,

the investment into Fund-I lost approximately $30 million in value.

                   i.   After directing $100 million of GTV victim funds into Fund- I, HO WAN

KWOK, a/k/a "Miles Guo," a/k/a "Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother Seven,"

a/k/a "The Principal," the defendant, continued to promote GTV using false and misleading

representations.

                                     The Farm Loan Program

       14.     Beginning in or about June 2020-the same month that HO WAN KWOK, a/k/a

"Miles Guo," a/k/a "Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The

Principal," and KIN MING JE, a/k/a "William Je," the defendants, and their co-conspirators

misappropriated money from the GTV Private Placement for the benefit of Saraca and

Relative- I-KWOK, JE, and their co-conspirators fraudulently obtained more than approximately



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$150 million in victim funds through the "Himalaya Farm Alliance."           The Himalaya Farm

Alliance, which KWOK organized and promoted, was a collective of informal groups (each known

as a "Farm") located in various cities around the world. KWOK, JE, and others working on their

behalf and at their direction, obtained these funds by making further misrepresentations to the

investors in the GTV Private Placement and fraudulently soliciting further investments, this time

in the form of "loans" to a Farm, and promising that such loans would be convertible into GTV

common stock at a conversion rate of one share per dollar loaned (the "Farm Loan Program").

                  a. Starting in or about June 2020, domestic banks that held accounts used to

process the funds raised through the GTV Private Placement began to freeze and close GTV-

associated bank accounts because, among other reasons, the accounts had received dozens of large

incoming wire transfers, some of which referenced an unregistered stock offering.

                  b. These bank account closures frustrated the ability of KWOK, JE, and their

co-conspirators to collect proceeds from victims seeking to invest in GTV.

                  c.    On or about July 22, 2020, in a video distributed via social media, KWOK

promoted the Farm Loan Program. According to KWOK and those working on his behalf,

individuals seeking to invest (or reinvest) in GTV could participate in the Farm Loan Program.

                  d. After launching the Farm Loan Program, KWOK continued to promote

GTV and to falsely represent the value of GTV. For example, on or about August 2, 2020, in a

video distributed via social media, KWOK falsely stated, in substance and part, "How much is

GTV? .. . a market value of2 billion US dollars." 1 In truth and in fact, and as KWOK well knew,

GTV ' s market value was far less because, among other things, GTV was a new business that

generated no revenue.


1
 All statements attributed herein to KWOK have been translated from Mandarin to English,
unless otherwise noted.
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                  e. Thousands of victims "loaned" money to the Farms by sending money to

bank accounts controlled by the Farms (and not GTV). According to the "Loan Agreements,"

which the Farms frequently did not countersign, these funds were to be used for a Farm's "general

working capital purposes."

                  f.   KWOK and JE misappropriated funds that were raised through the Farm

Loan Program. For example:

                             i. Approximately $20 million was transferred to          Relative- I,

approximately $950,000 of which was used to pay for flight crew services on a private jet;

                          ii. Approximately $5 million was transferred to an entity owned by

KWOK' s spouse;

                         iii. Approximately $2.3 million was used to cover maintenance

expenses associated with an approximately 145-foot luxury yacht worth approximately $37

million, nominally owned by Relative-2 and used by KWOK; and

                         iv. Approximately $10 million was transferred to personal bank

accounts in the name of JE and/or JE's spouse.

                                           G ICLUBS

       15.     While making misrepresentations regarding the Farm Loan Program, HO WAN

KWOK, a/k/a "Miles Guo," a/k/a "Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother Seven,"

a/k/a "The Principal," and KIN MING JE, a/k/a "William Je," the defendants, and others known

and unknown, fraudulently induced KWOK' s followers to transfer additional funds to a purported

online membership club called GICLUBS. From at least in or about October 2020 through at least




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in or about March 2023 , KWOK, JE, and others known and unknown, fraudulently obtained more

than approximately $250 million in victim funds through GICLUBS.

                  a. Starting at least on or about June 20, 2020, in a video distributed via social

media, KWOK promoted and encouraged individuals to purchase what KWOK referred to as a

"G Club . . . membership card."

                   b. Formally launched in or about October 2020, GICLUBS claimed, on its

website, to be "an exclusive, high-end membership program offering a full spectrum of services"

and "a gateway to carefully curated world-class products, services and experiences."

                  c. To join GICLUBS, a member was required to make a one-time payment to

purchase a "membership," in addition to an annual membership fee . The cost of the membership

varied based on the membership tier selected by the prospective member: Tier 5 Membership cost

$50,000; Tier 4 Membership cost $40,000; Tier 3 Membership cost $30,000; Tier 2 Membership

cost $20,000; and Tier 1 Membership cost $10,000.

                   d. On or about July 5, 2021 , in a video distributed via social media, KWOK

stated, in substance and in part, that there were "25,000 [GICLUBS] member[s] ... $100 million

dollars, the cash [in] the bank account. Then we have the 111 million ... [who] want to join." By

contrast, GICLUBS internal documents reflected approximately 5,900 active members as of in or

about August 2021.

                   e. In truth and in fact, and as KWOK and JE well knew, GICLUBS provided

nothing close to "a full spectrum of services" and "experiences" to its members. Despite collecting

hundreds of millions of dollars in purported membership fees, GICLUBS maintained a relatively

small number of employees and provided its members few to no discemable membership benefits.

Indeed, GICLUBS did not even make good on prizes it offered members for participating in



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contests. On or about February 14, 2021, GICLUBS held a webcast and sweepstakes during which

members were promised luxury prizes. On at least one occasion, instead of providing a BMW to

a member who purportedly won a sweepstakes, GI CLUBS claimed to the member that the member

had requested that the value of the BMW be applied toward an upgrade from a Tier 1 GICLUBS

Membership to a Tier 4 GICLUBS Membership and partially credited toward annual membership

fees for the next three years. As of on or about March 8, 2021-months after GICLUBS launched

and began to collect "membership" fees-G ICLUBS did not have a business plan or a board of

directors.

                   f.   KWOK and JE also used GICLUBS as a mechanism to continue fraudulent

private placement offerings. KWOK, and others known and unknown, told KWOK' s online

followers that their purchase of GICLUBS memberships would entitle them to stock in KWOK-

affiliated entities, such as GTV and GIFashion.

                            i. In a conversation regarding GICLUBS membership funds on or

about May 4, 2021 , JE stated, in substance and in part, that "first of all, [prospective members] are

buying the GICLUBS membership, but they are expecting they would probably receive some

shares, you know, on, on, on the future GTV, I think this is their expectation."

                           ii. On or about July 30, 2021, KWOK stated in a video distributed via

social media, in substance and in part, "Some of the comrades in arms asked, ' [w]ill I still get a

free stock offer when I buy a GICLUBS membership?' 100%. Because I said that I have to promise

that anyone who buys G-Club membership before September 17 must be allotted shares, which is

exactly the same. Because we said that anyone can choose whether to use your money to buy G-

Club before September 17, G-Club and the stock shares. You' ll get both."




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                     g. KWOK, JE, and others known and unknown, asked investors to purchase

multiple memberships in GICLUBS, enabling KWOK and JE to increase the amount of money

solicited. In this regard, the GICLUBS website stated, in substance and in part, that members with

multiple memberships would "receive additional benefits" when, in truth and in fact, and as

KWOK and JE well knew, multiple memberships did not provide members with additional

benefits.

        16.        All told, investors purchased hundreds of millions of dollars ' worth of GICLUBS

memberships. However, most of this money did not fund the business of GICLUBS. Rather, HO

WAN KWOK, a/k/a "Miles Guo," a/k/a "Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother

Seven," a/k/a "The Principal," and KIN MING JE, a/k/a "William Je," the defendants, and others

known and unknown, misappropriated a substantial portion of the funds victims had paid

GICLUBS for "memberships," using, among other things, a complex web of entities and bank

accounts to do so. For example:

                     a. GICLUBS funds, which had been funneled through bank accounts in other

entities' names, were used to pay personal expenses for KWOK and his family, including luxury

purchases of an approximately $2.6 million yacht and luxury automobiles that together cost more

than $5 million.

                     b. In or about November 2021 , JE directed approximately $26.5 million of

GICLUBS funds, which ·had been funneled through bank accounts in other entities' names, toward

the purchase of KWOK' s 50,000 square foot New Jersey mansion.

                     c. JE directed the transfer of an additional $13 million of GICLUBS

 membership payments to an escrow account. The funds were subsequently used to pay for

 extravagant renovations to KWOK's New Jersey mansion, including to a wing for Relative-I and



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 to a wing for Relative-2, and to purchase various furniture and decorative items including, among

 other items, Chinese and Persian rugs worth approximately $978,000, a $62,000 television, and

 a $53 ,000 fireplace log cradle holder.

                   d. On or about August 5, 2021 , JE directed the transfer of approximately $1 .1

 million consisting of GICLUBS membership payments into a bank account that JE controlled.

                   e. GICLUBS used membership fees to purchase luxury automobiles, including

a custom-built Bugatti sports car for approximately $4.4 million. While the car's signed purchase

agreement listed GICLUBS as the customer, the initial specifications documentation for the

custom-built car named Relative-I as the customer. Relative- I had no official position with

 GICLUBS.

                                      The Himalaya Exchange

       17.     From at least in or about April 2021 through at least in or about March 2023 , HO

WAN KWOK, a/k/a "Miles Guo," a/k/a "Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother

Seven," a/k/a "The Principal," and KIN MING JE, a/k/a "William Je," the defendants, and others

known and unknown, fraudulently obtained more than approximately $262 million in victim funds

through the Himalaya Exchange, a purported cryptocurrency "ecosystem" accessible on the

internet. The Himalaya Exchange included a purported stablecoin called the Himalaya Dollar

("HDO" or "H Dollar") and a trading coin called Himalaya Coin ("HCN" or "H Coin"). The

Himalaya Exchange claimed that the "stablecoin" was a digital asset with a fixed l-to-$1 value

backed by reserves, and that the "trading coin" was a cryptocurrency with valuation based on

supply and demand. JE was the founder and Chairman of the Himalaya Exchange.

       18.     In videos distributed via social media, HO WAN KWOK, a/k/a "Miles Guo," a/k/a

"Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The Principal," the defendant,



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trumpeted the prospects and valuation of the Himalaya Exchange and both HCN and HDO, which

he publicly described as cryptocurrencies. For example, in a video posted on the Internet on or

about October 20, 2021 , KWOK falsely stated the following, among other things, and in substance

and in part:

                   a.    "I am talking about your H Coins, ' Brother Seven' [i.e., KWOK] designed

it .... [I]t has the attribute of currency, why? It has 20% gold. Awesome[.] [I]t was born as

currency on the first day, so it has value and it is linked to gold ... clear gold directly. No matter

how much it raises, 20% will turn into gold."

                   b. "If the H Coin is worthless, [the issuer of H coin] can sell all 20% of the

gold, exchange it to you, and become your money. Or take all the value of 20% gold and ask

everyone to unify it and make it yours."

                   c. "If anyone loses money, I can say that I will compensate 100%. I give you

100%. Whoever loses money, I will bear it."

                   d. "I can sell the H Coin in the market in one minute and get it back to my

H Dollar, and back to your fiat money unit. ... [A]nd you can buy anything immediately."

        19.    The initial coin offering ofHCN and HDO occurred on or about November 1, 2021.

HCN began trading at 10 cents and, within approximately two weeks, the Himalaya Exchange

website claimed that each HCN purportedly was worth approximately 27 HDO (i.e., $27), which

represented a 26,900% increase in value. That is, approximately two weeks after the initial coin

offering, the Himalaya Exchange website indicated that HCN purportedly had an approximately

$27 billion valuation.

        20.    At the time of the Himalaya Exchange launch, HO WAN KWOK, a/k/a "Miles

Guo," a/k/a "Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The Principal," the



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defendant, marketed HCN to his online followers and others. For example, on or about November

1, 2021-the day of the initial coin offering-KWOK released an official music video for an

original song called "HCoin To the Moon" via social media. The phrase "to the moon" is popularly

associated with cryptocurrencies and implies a sharp increase in value. The music video depicted

KWOK in various luxurious locations and depicted imagery of gold and wealth.

        21.     At times, including following the Himalaya Exchange launch, KIN MING JE, a/k/a

"William Je," the defendant, misleadingly marketed the Himalaya Exchange. For example, in or

about June 2022, JE attempted to create the impression that a €3 ,561,127 purchase of a Ferrari (the

"Ferrari") from a particular auction house was completed with HDO. JE stated, in substance and

in part, that he was "extremely pleased that [a] buyer decided to purchase [a] world-class car using

HDO." Contrary to JE' s claim, the Ferrari was not purchased using HDO. In truth and in fact,

and as JE well knew, a Himalaya Exchange employee sent the auction house an international bank

wire to cover the cost of the Ferrari, while also processing a corresponding "transaction" on the

Himalaya Exchange to create the false appearance that the purchase had taken place using HDO.

JE' s statement was also misleading in that, among other things, the unidentified "buyer" of the

Ferrari was, in fact, Relative-I.

        22.     Contrary to representations of HO WAN KWOK, a/k/a "Miles Guo," a/k/a "Miles

Kwok," a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The Principal," and KIN MING JE,

a/k/a "William Je," the defendants, and others known and unknown, HCN and HDO could not be

traded anywhere other than (purportedly) on the Himalaya Exchange.               Moreover, unlike

cryptocurrencies, HCN could not be traded for, or converted into, other currencies.           HCN

purportedly could be traded for only HDO (and only on the Himalaya Exchange), and HDO

purportedly only could be converted to or from fiat currency (and only on the Himalaya Exchange).



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                  a. Indeed, the HDO and HCN Whitepapers, available on the Himalaya

Exchange website, provided in fine print that, contrary to KWOK's representations, HCN and

HDO were not cryptocurrencies. Rather, according to the HCN Whitepaper, the "operation of the

Himalaya Exchange and associated applications and infrastructure will be facilitated through the

use of 'Credits."' Those credits (i) could "only be used on the Himalaya Exchange or within the

Himalaya Ecosystem," and (ii) did "not carry any right to require their exchange for fiat currency

or crypto-assets." Moreover, while Himalaya Exchange members could request to exchange their

"HDO" credits for an equivalent payment in U.S. dollars, the HDO Whitepaper stated that the

Himalaya Exchange had the "discretion" to deny any such request.

       23.     In or about April 2022, HO WAN KWOK, a/k/a "Miles Guo," a/k/a "Miles Kwok,"

a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The Principal," and KIN MING JE, a/k/a

"William Je," the defendants, arranged for the transfer of approximately $37 million in Himalaya

Exchange funds from a Himalaya Exchange bank account to a particular escrow account. The $3 7

million was structured as a purported "loan" to cover the cost of a luxury yacht that KWOK had

previously purchased and used, which yacht was then-owned by an entity held in the name of

Relative-2.

                             Government Seizure of Fraud Proceeds

       24.     On or about September 20, 2022 and September 21, 2022, U.S. authorities served

judicially-authorized seizure warrants on several domestic banks, and subsequently seized

approximately $335 million of proceeds from bank accounts held in the names of Himalaya

Exchange entities and other entities associated with HO WAN KWOK, a/k/a "Miles Guo," a/k/a

"Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The Principal," and KIN MING

JE, a/k/a "William Je," the defendants.    Following the September 2022 judicially authorized



                                                18
seizures, JE attempted to transfer approximately $46 million from domestic bank accounts

associated with the Himalaya Exchange, which had not yet been seized by the United States, to a

bank account in the UAE that JE controlled.

                   a. Within approximately two days of the first judicially authorized seizures of

Himalaya Exchange-related funds, on or about September 22, 2022, JE contacted the management

of a domestic bank that held Himalaya Exchange bank accounts. JE sought to implement a wire

transfer, which he and a Himalaya Exchange executive claimed to the domestic bank was needed

to effectuate a "redemption" from HDO to U.S. dollars for an unnamed "VIP" (i.e., very important

client of the Himalaya Exchange).

                   b. In subsequent communications with the domestic bank, JE revealed that the

VIP was, in fact, JE himself. JE provided the domestic bank with documents reflecting two

purported HCN sales by JE on or about September 22, 2022-totaling 46 million HDO, which JE

was attempting to "convert" into $46 million. JE twice emphasized to the domestic bank's

management, in substance and in part, that the $46 million transfer needed to happen "today or it

is meaningless."

        25.    On or about October 16, 2022, pursuant to a judicially authorized warrant, U.S.

authorities seized an additional approximately $274 million of proceeds from several Himalaya

Exchange and GICLUBS accounts at the domestic bank from which JE requested the $46 million

transfer.

                   a. As a result of the judicially-authorized seizures, U.S. authorities seized

more than approximately $634 million of fraud proceeds, including approximately $278 million

from bank accounts held in the names of the Himalaya Exchange entities, including accounts that

purported to hold its HDO cash reserves.



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                    b. Following the seizures, the Himalaya Exchange website continued to

represent that HDO was backed by a "Reserve consisting of USD and cash-equivalent assets"

when, in truth and in fact, it was not.

                    c. Despite the seizure of the Himalaya Exchange' s cash reserves, the

purported price ofHCN had not suddenly and sharply declined through the date ofthis Indictment.

                                 STATUTORY ALLEGATIONS

       26.      From at least in or about 2018 up to and including at least in or about March 2023,

in the Southern District of New York and elsewhere, HO WAN KWOK, a/k/a "Miles Guo," a/k/a

"Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The Principal," KIN MING

JE, a/k/a "William Je," and YANPING WANG, a/k/a "Yvette," the defendants, and others known

and unknown, willfully and knowingly combined, conspired, confederated, and agreed together

and with each other to commit offenses against the United States, to wit, ( 1) wire fraud, in violation

of Title 18, United States Code, Section 1343 ; (2) securities fraud, in violation of Title 15, United

States Code, Sections 78j(b) & 78ff, and Title 17, Code of Federal Regulations, Section 240.1 0b-

5; (3) bank fraud, in violation of Title 18, United States Code, Section 1344; (4) international

promotional money laundering, in violation of Title 18, United States Code, Section

1956(a)(2)(A); and (5) international concealment money laundering, in violation of Title 18,

United States Code Section 1956(a)(2)(B)(i).

       27.     It was a part and an object of the conspiracy that HO WAN KWOK, a/k/a "Miles

Guo," a/k/a "Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The Principal,"

KIN MING JE, a/k/a "William Je," and YANPING WANG, a/k/a "Yvette," the defendants, and

others known and unknown, knowingly having devised and intending to devise a scheme and

artifice to defraud, and for obtaining money and property by means of false and fraudulent



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pretenses, representations, and promises, would and did transmit and cause to be transmitted by

means of wire, radio, and television communication in interstate and foreign commerce, writings,

signs, signals, pictures, and sounds for the purpose of executing such scheme and artifice, in

violation of Title 18, United States Code, Section 1343, to wit, KWOK, JE, and WANG agreed to

obtain victims' money by causing materially false information and misrepresentations to be

transmitted over interstate wires, in connection with the GTV Private Placement, the Farm Loan

Program, GICLUBS, and the Himalaya Exchange.

       28.     It was further a part and an object of the conspiracy that HO WAN KWOK, a/k/a

"Miles Guo," a/k/a "Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The

Principal," KIN MING JE, a/k/a "William Je," and YANPING WANG, a/k/a "Yvette," the

defendants, and others known and unknown, willfully and knowingly, directly and indirectly, by

use of a means and instrumentality of interstate commerce and of the mails, and of a facility of a

national securities exchange, used and employed, in connection with the purchase and sale of a

security registered on a national securities exchange and any security not so registered, a

manipulative and deceptive device and contrivance, in violation of Title 17, Code of Federal

Regulations, Section 240.l0b-5, by (a) employing a device, scheme and artifice to defraud; (b)

making an untrue statement of material fact and omitting to state a material fact necessary in order

to make the statement made, in light of the circumstances under which it was made, not misleading;

and (c) engaging in an act, practice and course of business which operated and would operate as a

fraud and deceit upon a person, to wit, KWOK, JE, and WANG agreed to fraudulently induce

investors to participate in the GTV Private Placement, the Farm Loan Program, and GICLUBS by

providing materially false and misleading information and representations in connection with

purported shares of GTV common stock and purported companies affiliated with GTV.



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        2 9.    It was further a part and an object of the conspiracy that HO WAN KWOK, a/k/a

"Miles Guo," a/k/a "Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The

Principal," KIN MING JE, a/k/a "William Je," and YANPING WANG, a/k/a "Yvette," the

defendants, and others known and unknown, knowingly would and did execute and attempt to

execute a scheme and artifice to defraud a financial institution, as defined in Title 18, United States

Code, Section 20, and to obtain moneys, funds, credits, assets, securities, and other property owned

by, and under the custody and control of, such a financial institution, by means of false and

fraudulent pretenses, representations, and promises, in violation of Title 18, United States Code,

Section 1344, to wit, KWOK, JE,,and WANG agreed to participate in a scheme to mislead U.S.

financial institutions through false and fraudulent pretenses, representations, and documents, in

connection with the GTV Private Placement, the Farm Loan Program, GICLUBS, and the

Himalaya Exchange, in order to obtain money of, or under the custody and control of, at least one

financial institution.

        30.     It was further a part and an object of the conspiracy that HO WAN KWOK, a/k/a

"Miles Guo," a/k/a "Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The

Principal," KIN MING JE, a/k/a "William Je," and YANPING WANG, a/k/a "Yvette," the

defendants, and others known and unknown, would and did transport, transmit, and transfer, and

attempt to transport, transmit, and transfer, a monetary instrument and funds from a place in the

United States to and through a place outside the United States, and to a place in the United States

from and through a place outside the United States, with the intent to promote the carrying on

specified unlawful activity, to wit, the offenses alleged in Counts Two through Eight of this

Indictment in violation of Title 18, United States Code, Section l 956(a)(2)(A)(i).




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       31.     It was further a part and an object of the conspiracy that HO WAN KWOK, a/k/a

"Miles Guo," a/k/a "Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The

Principal," KIN MING JE, a/k/a "William Je," and YANPING WANG, a/k/a "Yvette," the

defendants, and others known and unknown, would and did transport, transmit, and transfer, and

attempted to transport, transmit, and transfer, a monetary instrument and funds from a place in the

United States to and through a place outside the United States, and to a place in the United States

from and through a place outside the United States, knowing that the monetary instrument and

funds involved in the transportation, transmission, and transfer represent the proceeds of some

form of unlawful activity, and knowing that such transportation, transmission, and transfer is

designed in whole and in part to conceal and disguise the nature, location, source, ownership, and

control of the proceeds of specified unlawful activity, to wit, the offenses alleged in Counts Two

through Eight of this Indictment, in violation of Title 18, United States Code, Section

1956(a)(2)(B)(i).

                                            Overt Acts

       32.     In furtherance of the conspiracy and to effect its illegal objects, HO WAN KWOK,

a/k/a "Miles Guo," a/k/a "Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The

Principal," KIN MING JE, a/k/a "William Je," and YANPING WANG, a/k/a "Yvette," the

defendants, and others known and unknown, committed the following overt acts, among others, in

the Southern District of New York and elsewhere:

               a.     On or about April 21 , 2020, KWOK posted, and caused to be posted, a video

on social media announcing the unregistered offering of GTV stock via the GTV Private

Placement.




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.


                   b.      On or about June 5, 2020, WANG, while located in the Southern District of

    New York, authorized a wire transfer of $100 million from Saraca to Fund-1.

                   c.      On or about July 22, 2020, in a video distributed via social media, KWOK

    promoted the Farm Loan Program.

                   d.      On or about August 2, 2020, in a video distributed via social media, KWOK

    stated, in substance and part, "How much is GTV? ... a market value of 2 billion US dollars."

                    e.     On or about May 28, 2021 , JE transferred approximately $13 million from

    a bank account in the UAE that JE controlled to a bank account held by an entity (owned by

    Relative-2) at a particular bank in New York, New York.

                    f.      On or about July 30, 2021 , in a video distributed via social media, KWOK

    stated, in substance and in part, "Some of the comrades in arms asked, ' [w]ill I still get a free stock

    offer when I buy a G-Clubs membership?' 100%. Because I said that I have to promise that [to]

    anyone who buys G-Clubs membership before September 17 [they] must be allotted shares, which

    is exactly the same. Because we said that anyone can choose whether to use your money to buy

    G-Clubs before September 17, G-Clubs and the stock shares. You' ll get both."

                    g.      On or about August 5, 2021 , JE directed the transfer of approximately $1.1

    million consisting of funds victims had sent to GICLUBS in exchange for "memberships" to a

    bank account that JE controlled.

                    h.      On or about October 20, 2021 , in a video distributed via social media,

    KWOK stated, in substance and in part, that KWOK "designed" HCN, that "[n]o matter how much

    it raises, 20% will tum into gold," and that "[i]f anyone loses money" on HCN, " I can say that I

    will compensate 100%."




                                                      24
               1.      On or about September 22, 2022, JE texted a U.S. bank' s management, in

substance and in part, that a $46 million transfer to a JE-controlled bank account in the UAE

needed to happen "today or it is meaningless."

                            (Title 18, United States Code, Section 371.)

                                        COUNT TWO
                             (Wire Fraud - GTV Private Placement)

       The Grand Jury further charges:

       33 .    The allegations contained in paragraphs 1 through 25 of this Indictment are

repeated and realleged as if fully set forth herein.

       34.     From at least in or about April 2020 up to and including at least in or about March

2021 , in the Southern District of New York and elsewhere, HO WAN KWOK, a/k/a "Miles Guo,"

a/k/a "Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The Principal," KIN

MING JE, a/k/a "William Je," and YANPING WANG, a/k/a "Yvette," the defendants, knowingly

having devised and intending to devise a scheme and artifice to defraud, and for obtaining money

and property by means of false and fraudulent pretenses, representations, and promises, transmitted

and caused to be transmitted by means of wire, radio, and television communication in interstate

and foreign commerce, writings, signs, signals, pictures, and sounds, for the purpose of executing

such scheme and artifice, to wit, KWOK, JE, and WANG conducted the GTV Private Placement

to sell GTV stock and fraudulently obtain money from victims through false statements and

misrepresentations, which scheme was furthered through electronic communications and monetary

transfers to and from the Southern District of New York and elsewhere.

                        (Title 18, United States Code, Sections 1343 and 2.)




                                                  25
                                         COUNT THREE
                           (Securities Fraud - GTV Private Placement)

       The Grand Jury further charges:

        35.      The allegations contained in paragraphs 1 through 25 of this Indictment are

repeated and realleged as if fully set forth herein.

       36.       From at least in or about April 2020 up to and including at least in or about March

2021 , in the Southern District ofNew York, and elsewhere, HO WAN KWOK, a/k/a "Miles Guo,"

a/k/a "Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The Principal," KIN

MING JE, a/k/a "William Je," and Y ANPING WANG, a/k/a "Yvette," the defendants, willfully

and knowingly, directly and indirectly, by use of a means and instrumentality of interstate

commerce and of the mails, and of a facility of a national securities exchange, used and employed,

in connection with the purchase and sale of a security registered on a national securities exchange

and any security not so registered, a manipulative and deceptive device and contrivance, in

violation of Title 17, Code of Federal Regulations, Section 240.lOb-5 , by (a) employing a device,

scheme and artifice to defraud; (b) making an untrue statement of material fact and omitting to

state a material fact necessary in order to make the statement made, in light of the circumstances

under which it was made, not misleading; and (c) engaging in an act, practice and course of

business which operated and would operate as a fraud and deceit upon a person, to wit, KWOK,

JE, and WANG conducted the GTV Private Placement to sell GTV stock and obtain money from

victims through false statements and misrepresentations, which scheme was furthered through

electronic communications and monetary transfers to and from the Southern District of New York

and elsewhere.

  (Title 15, United States Code, Sections 78j(b) & 78ff; Title 17, Code of Federal Regulations,
                 Section 240.1 0b-5; and Title 18, United States Code, Section 2.)



                                                  26
                                        COUNT FOUR
                               (Wire Fraud - Farm Loan Program)

       The Grand Jury further charges:

        3 7.   The allegations contained in paragraphs 1 through 25 of this Indictment are

repeated and realleged as if fully set forth herein.

       38.     From at least in or about June 2020 up to and including at least in or about March

2023, in the Southern District of New York and elsewhere, HOWAN KWOK, a/k/a "Miles Guo,"

a/k/a "Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The Principal," and KIN

MING JE, a/k/a "William Je," the defendants, knowingly having devised and intending to devise

a scheme and artifice to defraud, and for obtaining money and property by means of false and

fraudulent pretenses, representations, and promises, transmitted and caused to be transmitted by

means of wire, radio, and television communication in interstate and foreign commerce, writings,

signs, signals, pictures, and sounds, for the purpose of executing such scheme and artifice, to wit,

KWOK and JE conducted the Farm Loan Program to fraudulently obtain money from victims

through false statements and misrepresentations, which scheme was furthered through electronic

communications and monetary transfers to and from the Southern District of New York and

elsewhere.

                        (Title 18, United States Code, Sections 1343 and 2.)

                                          COUNT FIVE
                            (Securities Fraud-Farm Loan Program)

       The Grand Jury further charges:

        39.    The allegations contained in paragraphs 1 through 25 of this Indictment are

repeated and realleged as if fully set forth herein.




                                                  27
       40.     From at least in or about June 2020 up to and including at least in or about March

2023 , in the Southern District of New York, and elsewhere, HO WAN KWOK, a/k/a "Miles Guo,"

a/k/a "Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The Principal," and KIN

MING JE, a/k/a "William Je," the defendants, willfully and knowingly, directly and indirectly, by

use of a means and instrumentality of interstate commerce and of the mails, and of a facility of a

national securities exchange, used and employed, in connection with the purchase and sale of a

security registered on a national securities exchange and any security not so registered, a

manipulative and deceptive device and contrivance, in violation of Title 17, Code of Federal

Regulations, Section 240. lOb-5 , by (a) employing a device, scheme and artifice to defraud;

(b) making an untrue statement of material fact and omitting to state a material fact necessary in

order to make the statement made, in light of the circumstances under which it was made, not

misleading; and (c) engaging in an act, practice and course of business which operated and would

operate as a fraud and deceit upon a person, to wit, KWOK and JE conducted the Farm Loan

Program to obtain money from victims through false statements and misrepresentations, including

regarding, among other things, the value of GTV, which scheme was furthered through electronic

communications and monetary transfers to and from the Southern District of New York and

elsewhere.

  (Title 15, United States Code, Sections 78j(b) & 78ff; Title 17, Code of Federal Regulations,
                 Section 240.1 0b-5 ; and Title 18, United States Code, Section 2.)

                                          COUNT SIX
                                    (Wire Fraud - GICLUBS)

       The Grand Jury further charges:

       41.     The allegations contained in paragraphs 1 through 25 of this Indictment are

repeated and realleged as if fully set forth herein.



                                                  28
       42.     From at least in or about June 2020 up to and including at least in or about March

2023 , in the Southern District of New York and elsewhere, HOWAN KWOK, a/k/a "Miles Guo,"

a/k/a "Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The Principal," and KIN

MING JE, a/k/a "William Je," the defendants, knowingly having devised and intending to devise

a scheme and artifice to defraud, and for obtaining money and property by means of false and

fraudulent pretenses, representations, and promises, transmitted and caused to be transmitted by

means of wire, radio, and television communication in interstate and foreign commerce, writings,

signs, signals, pictures, and sounds, for the purpose of executing such scheme and artifice, to wit,

KWOK and JE promoted and marketed GICLUBS to fraudulently obtain money from victims

through false statements and misrepresentations, which scheme was furthered through electronic

communications and monetary transfers to and from the Southern District of New York and

elsewhere.

                        (Title 18, United States Code, Sections 1343 and 2.)

                                         COUNT SEVEN
                                  (Securities Fraud-GICLUBS)

       The Grand Jury further charges:

       43.     The allegations contained in paragraphs 1 through 25 of this Indictment are

repeated and realleged as if fully set forth herein.

       44.      From at least in or about June 2020 up to and including at least in or about March

2021 , in the Southern District of New York, and elsewhere, HO WAN KWOK, a/k/a "Miles Guo,"

a/k/a "Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The Principal," and KIN

MING JE, a/k/a "William Je," the defendants, willfully and knowingly, directly and indirectly, by

use of a means and instrumentality of interstate commerce and of the mails, and of a facility of a

national securities exchange, used and employed, in connection with the purchase and sale of a


                                                  29
security registered on a national securities exchange and any security not so registered, a

manipulative and deceptive device and contrivance, in violation of Title 17, Code of Federal

Regulations, Section 240.l0b-5 , by (a) employing a device, scheme and artifice to defraud;

(b) making an untrue statement of material fact and omitting to state a material fact necessary in

order to make the statement made, in light of the circumstances under which it was made, not

misleading; and (c) engaging in an act, practice and course of business which operated and would

operate as a fraud and deceit upon a person, to wit, KWOK and JE promoted and marketed

G\CLUBS to obtain money from victims through false statements and misrepresentations,

including regarding, among other things, the value of GTV, which scheme was furthered through

electronic communications and monetary transfers to and from the Southern District of New York

and elsewhere.

              (Title 15, United States Code, Sections 78j(b) & 78ff; Title 17, Code of Federal
               Regulations, Section 240.10b-5 ; and Title 18, United States Code, Section 2.)

                                       COUNT EIGHT
                             (Wire Fraud-The Himalaya Exchange)

       The Grand Jury further charges:

       45 .      The allegations contained in paragraphs 1 through 25 of this Indictment are

repeated and realleged as if fully set forth herein.

       46.       From at least in or about April 2021 up to and including at least in or about March

2023 , in the Southern District of New York and elsewhere, HOWAN KWOK, a/k/a "Miles Guo,"

a/k/a "Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The Principal," and KIN

MING JE, a/k/a "William Je," the defendants, knowingly having devised and intending to devise

a scheme and artifice to defraud, and for obtaining money and property by means of false and

fraudulent pretenses, representations, and promises, transmitted and caused to be transmitted by

means of wire, radio, and television communication in interstate and foreign commerce, writings,

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signs, signals, pictures, and sounds, for the purpose of executing such scheme and artifice, to wit,

KWOK and JE operated the Himalaya Exchange to fraudulently obtain money from victims

through false statements and misrepresentations, which scheme was furthered through electronic

communications and monetary transfers to and from the Southern District of New York and

elsewhere.

                        (Title 18, United States Code, Sections 1343 and 2.)

                                        COUNT NINE
                        (International Promotional Money Laundering)

       The Grand Jury further charges:

       4 7.    The allegations contained in paragraphs 1 through 25 of this Indictment are

repeated and realleged as if fully set forth herein.

       48.     From at least in or about 2018 up to and including at least in or about March 2023 ,

in the Southern District of New York and elsewhere, HO WAN KWOK, a/k/a "Miles Guo," a/k/a

"Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The Principal," and KIN MING

JE, a/k/a "William Je," the defendants, did transport, transmit, and transfer, and attempt to

transport, transmit, and transfer, a monetary instrument and funds from a place in the United States

to and through a place outside the United States, and to a place in the United States from and

through a place outside the United States, with the intent to promote the carrying on specified

unlawful activity, to wit, KWOK and JE directed and made international transfers of funds into,

out of, and through the United States, with the intent to promote the fraud offenses in Counts Two

through Eight of the Indictment.

                   (Title 18, United States Code, Sections 1956(a)(2)(A) and 2.)




                                                  31
                                         COUNT TEN
                        (International Concealment Money Laundering)

       The Grand Jury further charges:

           49. The allegations contained in paragraphs 1 through 25 of this Indictment are

repeated and realleged as if fully set forth herein.

            50. From at least in or about 2018 up to and including at least in or about March 2023,

in the Southern District of New York and elsewhere, HO WAN KWOK, a/k/a "Miles Guo," a/k/a

"Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The Principal," and KIN MING

JE, a/k/a "William Je," the defendants, did transport, transmit, and transfer, and attempt to

transport, transmit, and transfer, a monetary instrument and funds from a place in the United States

to and through a place outside the United States, and to a place in the United States from and

through a place outside the United States, knowing that the monetary instrument and funds

involved in the transportation, transmission, and transfer represented the proceeds of some form

of unlawful activity, and knowing that such transportation, transmission, and transfer was designed

in whole and in part to conceal and disguise the nature, location, source, ownership, and control

of the proceeds of specified unlawful activity, namely, the fraud offenses alleged in Counts Two

through Eight of this Indictment, to wit, KWOK and JE conducted international financial

transactions into, and out of, and through the United States involving fraud proceeds, including,

among other transactions, transactions involving bank accounts held in the names of entities

nominally owned by other individuals and by entities not overtly associated with the defendants,

in order to conceal the ownership, control, and/or receipt of the proceeds of the fraud and the illegal

nature and source of such proceeds.

                  (Title 18, United States Code, Sections 1956(a)(2)(B)(i) and 2.)




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                                           COUNT ELEVEN
                                    (Unlawful Monetary Transactions)

           The Grand Jury further charges:

            51.    The allegations contained in paragraphs 1 through 25 of this Indictment are

    repeated and realleged as if fully set forth herein.

            52.    On or about June 5, 2020, in the Southern District of New York and elsewhere, HO

    WAN KWOK, a/k/a "Miles Guo," a/k/a "Miles Kwok," a/k/a "Guo Wengui," a/k/a "Brother

    Seven," a/k/a "The Principal," KIN MING JE, a/k/a "William Je," and YANPING WANG, a/k/a

    "Yvette," the defendants, within the United States, knowingly engaged and attempted to engage

    in a monetary transaction, as defined in Title 18, United States Code, Section 1957(£)(1), in

    criminally derived property of a value greater than $10,000 that was derived from specified

    unlawful activity, to wit, KWOK, JE, and WANG made, and directed others to make, a wire

    transfer of approximately $100 million derived from the offenses charged in Counts Two and

    Three to Fund-1.

                            (Title 18, United States Code, Sections 1957 and 2.)

                                            COUNT TWELVE
                                          (Obstruction of Justice)

           The Grand Jury further charges:

            53.     The allegations contained in paragraphs 1 through 25 of this Indictment are

    repeated and realleged as if fully set forth herein.

            54.     From at least on or about September 20, 2022 through the date of the filing of this

    Indictment, in the Southern District of New York and elsewhere, KIN MING JE, a/k/a "William

    Je," the defendant, corruptly obstructed, influenced, and impeded an official proceeding and

    attempted so to do, to wit, JE attempted to transfer money to the UAE, beyond the jurisdiction of



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the United States, to impede and interfere with a federal grand jury investigation in the Southern

District of New York of the offenses alleged in Counts One through Eleven of this Indictment, and

proceedings before the United States District Court for the Southern District of New York

concerning the seizure and forfeiture of criminally derived proceeds.

                    (Title 18, United States Code, Sections 1512(c)(2) and 2.)

                               FORFEITURE ALLEGATIONS

       55.     As a result of committing the offenses alleged in Counts One through Eight of this

Indictment, HO WAN KWOK, a/k/a "Miles Guo," a/k/a "Miles Kwok," a/k/a "Guo Wengui,"

a/k/a "Brother Seven," a/k/a "The Principal," KIN MING JE, a/k/a "William Je," and YANPING

WANG, a/k/a "Yvette," the defendants, shall forfeit to the United States, pursuant to Title 18,

United States Code, Section 981(a)(l)(C) and Title 28 United States Code, Section 2461(c), any

and all property, real and personal, that constitutes or is derived from proceeds traceable to the

commission of said offenses, including but not limited to a sum of money in United States currency

representing the amount of proceeds traceable to the commission of said offenses and, and the

following specific property:

                  a. $64,826.87 in United States currency formerly on deposit in Account

Number 5090037713 at Silvergate Bank held in the name of "Hamilton Opportunity Fund SPC,"

seized by the Government on or about September 18, 2022;

                  b. $75,000,000.00 in United States currency formerly on deposit in Account

Number 5090037705 at Silvergate Bank held in the name of "Hamilton Opportunity Fund SPC,"

seized by the Government on or about September 18, 2022;




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                      c. $467,343.00 in United States currency formerly on deposit in Account

    Number 5090037754 at Silvergate Bank held in the name of "Hamilton Opportunity Fund SPC,"

    seized by the Government on or about September 18, 2022;

                      d. $89,992,861.75 in United States currency formerly on deposit in Account

    Number 5090042770 at Silvergate Bank held in the name of "Hamilton Opportunity Fund SPC,"

    seized by the Government on or about September 18, 2022;

                      e. $1 ,683 ,077.40 in United States currency formerly on deposit in Account

    Number 5090042762 at Silvergate Bank held in the name of "Hamilton Opportunity Fund SPC,"

    seized by the Government on or about September 18, 2022;

                      f.   $85,899,889.20 in United States currency formerly on deposit in Account

    Number 5090042853 at Silvergate Bank held in the name of "Hamilton Opportunity Funds SPC,"

    seized by the Government on or about September 18, 2022;

                      g. $48,230,709.62 in United States currency formerly on deposit in Account

    Number 5090030288 at Silvergate Bank held in the name of "Hamilton Investment Management"

    Ltd. , seized by the Government on or about September 18, 2022;

                      h. $1 ,800,000.00 in United States currency formerly on deposit in Account

    Number 5090037739 at Silvergate Bank held in the name of "Hamilton Opportunity Fund SPC,"

    seized by the Government on or about September 18, 2022;

                      i.   $85,899,889.20 in United States currency formerly on deposit in Account

    Number 5090042853 at Silvergate Bank held in the name of "Hamilton Opportunity Funds SPC,"

    seized by the Government on or about September 18, 2022;




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                  j.   $4,643,744.70 in United States currency formerly on deposit in Account

Number 7801000590 at FV Bank held in the name of "Himalaya International Reserves, Ltd.,"

seized by the Government on or about September 20, 2022;

                  k. $14,599,257.25 in United States currency formerly on deposit in Account

Number 7801000254 at FV Bank held in the name of "Himalaya International Clearing, Ltd. ,"

seized by the Government on or about September 20, 2022;

                  1.   $11,538,579.87 in United States currency formerly on deposit in Account

Number MBI10103-0000 at Mercantile Bank International held in the name of "G Club

International Ltd. ," seized by the Government on or about October 16, 2022;

                  m. $10,008,284.04 in United States currency formerly on deposit in Account

Number MBil 0133-0000 at Mercantile Bank International held in the name of "Himalaya

International Clearing Ltd. ," seized by the Government between on or about October 16, 2022 and

on or about March 10, 2023;

                  n. $3 ,090,856.54 in United States currency formerly on deposit in Account

Number MBI10137-0000 at Mercantile Bank International held in the name of "Hamilton Capital

Holding Ltd. ," seized by the Government between on or about October 16, 2022 and on or about

March 10, 2023;

                  o. $272,350,313.76 in United States currency formerly on deposit in Account

Number MBI10138-0000 at Mercantile Bank International held in the name of "Himalaya

International Reserves Ltd.," seized by the Government between on or about October 16, 2022 and

on or about March 10, 2023 ;

                  p. $310,594.31 in United States currency formerly on deposit in Account

Number MBI10139-0000 at Mercantile Bank International held in the name of "Himalaya



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International Financial Group Ltd.," seized by the Government between on or about October 16,

2022 and on or about March 10, 2023;

                  q. $1 ,187,278.87 in United States currency formerly on deposit in Account

Number MBI10171-0000 at Mercantile Bank International held in the name of "Hamilton

Investment Management Ltd. ," seized by the Government between on or about October 16, 2022

and on or about March 10, 2023 ;

                  r.   $43 ,782.71 in United States currency formerly on deposit in Account

Number MBI10172-0000 at Mercantile Bank International held in the name of "G Fashion

International Limited," seized by the Government on or about October 16, 2022;

                  s.   $161 ,809.47 in United States currency formerly on deposit in Account

Number MBI10183-0000 at Mercantile Bank International held in the name of "Himalaya

Currency Clearing Pty Ltd.," seized by the Government on or about October 16, 2022;

                  t.   $2,745,377.75 in United States currency formerly on deposit in Account

Number 9878904409 at Manufacturers & Traders Trust Co. held in the name of "GETTR USA,

Inc.," seized by the Government on or about September 18, 2022;

                  u. $9,899,659.19 in United States currency formerly on deposit in Account

Number 157525208185 at US Bank held in the name of "G Fashion," seized by the Government

on or about September 18, 2022;

                  v. All that lot or parcel of land, together with its buildings, appurtenances,

improvements, fixtures, attachments, and easements, located at 675 Ramapo Valley Road,

Mahwah, New Jersey 07430, Parcel No. 3300021-03-00001-02 and described as Lot Number: 1.02

Block: 21.03 District: 33 City, Municipality, Township: MAHWAH TWP




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                           w. A Bugatti Chiron Super Sport, bearing Vehicle Identification Number

        VF9SW3V3XNM795047 ;

                           x. A Lamborghini Aventador SVJ Roads, bearing Vehicle Identification

        Number ZHWUN6ZD2MLA10393;

                           y. A Rolls Royce Phantom EWB, bearing Vehicle Identification Number

        SCATT8C08MU206445;

                           z. A 46m 2014 Feadship superyacht "Lady May" (ex Como), bearing IMO

        Number 112359, MMSI Number 319059500, and Callsign ZGDQ9;

                           aa. A Bosendorfer 185VC Porsche #49539 piano with custom bench, purchased

        for approximately $140,938.69;

                           bb. A Railis Design Iceland Contemporary Poseidon Bed with Nightstands,

        Ebony Veneer, Brass, Velvet, purchased for approximately $31,413.71;

                           cc. A Hastens 2000T md mattress, purchased for approximately $36,590.00;

                           dd. A Hastens 2000T sf mattress, purchased for approximately $36,210.00;

                           ee. A Wembe watch storage box, purchased for approximately $59,392.91;

                           ff. A Samsung Q900 Series QN98Q900RBF 98" QLED Smart TV - 8K,

        purchased for approximately $62,787.54;

                           gg. A Louis XV Style French Ormolu-Mounted Mahogany Commode by

        Joseph Emmanuel Zweiner;

                           hh. A "K'ang Hsi" extension table in etched and patinated pewter and bronze

        with hand-painted enamel colors by Philip & Kelvin LaVerne, purchased for approximately

        $180,000.00; and




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                     ii. A "Punto '83" table in stainless steel with mesh tabletop with adjustable

height and adjustable petals by Gabriella Crespi, Italy 1982, purchased for approximately

$180,000.00.

                        (a) through (ii), collectively, the "Specific Property."

       56.     As a result of committing the money laundering offenses alleged in Counts One,

Nine, Ten and Eleven of this Indictment, HO WAN KWOK, a/k/a "Miles Guo," a/k/a "Miles

Kwok," a/k/a "Guo Wengui," a/k/a "Brother Seven," a/k/a "The Principal," KIN MING JE, a/k/a

"William Je," and YANPING WANG, a/k/a "Yvette," the defendants, shall forfeit to the United

States, pursuant to Title 18, United States Code, Section 982(a)(l), any and all property, real and

personal, involved in said offense, or any property traceable to such property, including but not

limited to a sum of money in United States currency representing the amount of property involved

in said offense and the Specific Property.

                                     Substitute Assets Provision

       57.     If any of the above-described forfeitable property, as a result of any act or omission

of the defendants:

               a.       cannot be located upon the exercise of due diligence;

               b.       has been transferred or sold to, or deposited with, a third person;

               c.       has been placed beyond the jurisdiction of the Court;

               d.       has been substantially diminished in value; or

               e.       has been commingled with other property which cannot be subdivided

               without difficulty;




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    it is the intent of the United States, pursuant to Title 21 , United States Code, Section 853(p) and

    Title 28, United States Code, Section 2461 (c), to seek forfeiture of any other property of the

    defendants up to the value of the above forfeitable property.

                           (Title 18, United States Code, Sections 981 and 982;
                              Title 21 , United States Code, Section 853; and
                                Title 28 , United States Code, Section 2461.)


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                                                                     J:k--;_~
                                                                     DAMIAN WILLIAMS
                                                                     United States Attorney




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